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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DISTRICT

SUBHASH MANNAVA,                              )
                                              )
                       Plaintiff,             )         Case No.: 21-cv-1303
                                              )
       v.                                     )         Hon. Matthew F. Kennelly
                                              )
TD AMERITRADE, INC., WEBULL                   )         Removed from the Circuit Court of the
FINANCIAL, LLC, APEX CLEARING                 )         Twelfth Judicial Circuit, Will County,
CORPORATION, ROBINHOOD                        )         Illinois
FINANCIAL, LLC, and BANK OF                   )
AMERICA,                                      )         State Court Case No.: 2021-CH-75
                  Defendants.                 )

      NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(i)

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff, Subhash

Mannava (“Plaintiff”), by and through his attorneys, Cart & Guth Law, LLC, hereby gives notice

that following receipt of the arbitration agreements from Webull, Apex, TD Ameritrade, and

Robinhood that Plaintiff did not have access to prior to said filings, the above-captioned action is

dismissed, without prejudice, as to Defendants, Webull Financial LLC, Apex Clearing

Corporation, TD Ameritrade, Inc., and Robinhood Financial LLC, and with each party to bear his

or its own fees and costs.

Dated: September 7, 2021                              Respectfully submitted,

                                                      Subhash Mannava, Plaintiff

                                              By:      /s/ Oran D. Cart
                                                      One of His Attorneys
Oran D. Cart, Esq.
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                                CERTIFICATE OF SERVICE

        The undersigned attorney on oath certifies that on September 7, 2021, prior to 11:00 p.m.
CST, the foregoing was filed with the Clerk of the Court using the CM/ECF filing system, which
will cause notification of this filing to be sent to all counsel of record.



                                                            /s/ Oran D. Cart
                                                           Oran D. Cart




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